                   Case 2:09-cr-20041-KHV         Document 6        Filed 04/06/09         Page 1 of 2

            CLERK'S COURTROOM MINUTE SHEET - CRIMINAL - MAGISTRATE JUDGE

UNITED STATES OF AMERICA

v.                                                                                        Case No: 09-20041-02-KHV-DJW

ANGELA B. JONES
                                                                                                    AUSA: Trent M. Krug
                                                                                    Counsel for Defendant: Tim H. Burdick
 JUDGE:                       David J. Waxse                DATE:                                          April 6, 2009

 DEPUTY CLERK:                Lori Lopez                    TIME:                                              11:04 AM

 INTERPRETER:                 None                          PRETRIAL/PROBATION:                             Sara Valdez
Length of Hearing: 0 Hr(s) 25 Min(s)                                                        Location: Kansas City, Kansas
Hearing Concluded:  (x) Yes ( ) No

                                                 PROCEEDINGS
( )    Rule 5 Hearing                ( )     Initial Revocation Hearing       ( )       Bond Hearing
( )    Identity Hearing              ( )     Held ( )        Waived           ( )       Bond Revocation Hearing
( )    Preliminary Hearing           ( )     Held ( )        Waived           (x)       Arraignment
(x)    Detention Hearing             (x)     Held ( )        Waived           ( )
(x)    Discovery Conference          (x)     Held ( )        Waived

( )    Interpreter                     ( )   Sworn                          ( )    Previously sworn
( )    Charges and penalties explained to defendant
( )    Defendant sworn and examined re: financial ability to retain counsel
( )    Counsel appointed                            ( )      At defendant’s expense
( )    Constitutional rights explained              ( )      Felony         ( ) Misdemeanor
( )    Defendant declined to waive indictment       ( )      Will be presented by next Grand Jury
( )    Signed Waiver of Indictment
( )    Advised of rights under Rule 20
( )    Signed Consent to Transfer (Rule 20)
( )    Petition to Enter Plea Filed                 ( )      Plea Agreement Attached
( )    Transferred to:

(x)    ARRAIGNMENT AND PLEA:                                                            (x)    No. of Counts: 3
       (x)  Waived Reading of (x)            Indictment      ( )    Information         ( )    Read to Defendant
       ( )  Previous Plea     ( )            Guilty          ( )    Not Guilty          Counts:
       ( )  Guilty                                                                      Counts:
       (x)  Not Guilty                                                                  Counts: #1, #2 and #3

( )    Bail denied                   (x)     Bail fixed at                        ( )      Bail remain at
(x)    $25,000.00                    (x)     Unsecured                            ( )      Secured
(x)    Release Order                 (x)     Executed                             ( )      Continued in effect
( )    Deft. remanded to custody     ( )     Pending compliance with conditions of release
( )    Detention Ordered

Motions to be filed by:       April 27, 2009
Response(s) to be filed by:   May 4, 2009
Motions to be heard:          May 12, 2009 at 1:30 p.m. before Judge Vratil
Deft's next appearance:       May 12, 2009 at 1:30 p.m. before Judge Vratil
                 Case 2:09-cr-20041-KHV        Document 6        Filed 04/06/09      Page 2 of 2

Miscellaneous:      Oral motion of U.S. for pretrial detention of defendant - denied. See Order Setting Conditions of
                    Release for special conditions of release.
